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EXPERT REPORT

Analysis of Distributor and Manufacturer
Regulatory Compliance to Maintain
Effective Controls for the Prevention of
Diversion of Controlled Substances




Prepared by
James E. Rafalski
37637 Five Mile Road #278
Livonia, MI 48154




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                         ○ Administrative investigation resulted in an Administrative Memorandum of
                           Agreement that remained in effect for three years.

        As a DEA Diversion Investigator with 13 years of experience (2004-2017), I am uniquely
qualified to offer expert opinions regarding compliance with federal regulations governing the
distribution of controlled substances including oxycodone and hydrocodone. I am familiar with
the DEA Diversion Investigators Manual and received training from the United States Department
of Justice on suspicious order monitoring, data analysis from ARCOS, reporting of suspicious
orders and the due diligence required before shipping an order flagged as suspicious. I directly
participated in the successful prosecution of Masters Pharmaceutical which resulted in a case
opinion from the highest federal court in the country (to date). I led the first action that led to a
memorandum of agreement with a manufacturer for failure to maintain effective controls to
prevent diversion and failing to design and operate an adequate suspicious order monitoring
system.

         Based (a) on my education, training and experience, (b) the law, regulation and practices
in the area of CSA enforcement, and (c) on my review of document and testimony provided in this
case (MDL 2804), I am of the opinion to a reasonable degree of professional certainty that there
was a systematic, prolonged failure over many years by the defendant manufacturers and
distributors to maintain effective controls against diversion of legitimate opioid prescriptions into
the illicit market. 1 I am further of the opinion that this systematic failure was a substantial cause
of the opioid epidemic plaguing the country and specifically in Cuyahoga County and Summit
County. I am prepared to testify regarding the regulatory duties imposed by the CSA and federal
regulations. I have been asked to review the documents produced by the defendants and
depositions taken in MDL2804 and offer opinions regarding statutory and regulatory compliance.

        I offer my opinions herein to a reasonable degree of professional certainty. I believe the
facts stated herein are true and accurate and based on the record provided to me. I understand that
the defendants continue to supplement discovery and have disclosed tens of millions of documents.
I have relied upon the defendant's answers to Combined Discovery Requests (served on July 1,
2018) as a basic outline for evidence of compliance to reach my opinions.

        I am being compensated at the rate of $300.00 per hour for the time I have spent related to
this report. The hourly rate for my time spent testifying is $500.00 per hour. I have not previously
provided expert testimony at trial or deposition. I have not authored any publications or articles.
In addition to the documents and testimony cited within my report, I have also reviewed documents
identified in the attached Schedule I.




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    I provide all opinions in this report with a reasonable degree of professional certainty.
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mean prior to a shipment.” This statement along with the letter from DEA is an important
communication that identifies the DEA was requiring the suspicious order system to identify single
orders of controlled substances that must report immediately prior to being shipped.
2008 Healthcare Distribution Management Association (HDMA) Industry Compliance
Guidelines: Report Suspicious Orders and Preventing Diversion of Controlled Substances.
       In 2008 the HDMA posted on their website industry compliance guidelines that were titled,
“Reporting Suspicious Orders and Preventing Diversion of Controlled Substances.” In the
introduction section of the document appeared this comment:
          At the center of a sophisticated supply chain, distributors are uniquely situated to
          perform due diligence in order to help support security of controlled substances
          they deliver to their customers. Due Diligence can provide a greater level of
          assurance that those who purchase CS from distributors intend to dispense them
          flor legally acceptable purposes. Such due diligence can reduce the possibility that
          controlled substances within the supply chain will reach locations they are not
          intended to reach. 91
        On October 17, 2008, DEA Chief Counsel Attorney Wendy H. Goggins sent a written
statement to HDMA President and CEO John M. Gray commending the HDMA for their efforts
to assist their members in fulfilling the obligations regarding the Controlled Substance Act and
corresponding regulations. 92
       The HDMA compliance guidelines document contains a general framework for a basic
suspicious order monitoring system. 93 The document contains the following elements with
accompanying suggested guidelines:
          1.      Know Your Customer Due Diligence
          2.      Monitoring for Suspicious Orders
          3.      Suspend/Stop an Order of Interest Shipment
          4.      Investigation of Orders of Interest
          5.      File Suspicious Order of Interest
          6.      Employees, Training and Standard Operating Procedures (SOPs)
          7.      Additional Recommendations
          8.      Glossary of Abbreviations



91
     February 10, 2012 Declaration of Joseph Rannazzisi, CAH_MDL_PRIORPROD_DEA12_00014479, 00014512.
92
     CAH_MDL_PRIORPROD_DEA12_00000825.
93
     CAH_MDL_PRIORPROD_DEA12_00000826.
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                  d.     Include a process and/or guidance/criteria for making the final
                         determination that an order is, or is not, “suspicious”;
                  e.     Define a process for reporting to DEA under 21 C.F.R. Section 1301.74(b);
                         and
                  f.     Define a process for allowing release of a shipment, or cancellation of an
                         order, as appropriate. 106
        19.      If a distributor concludes an order is suspicious after conducting an investigation it
is recommended the distributor make a determination whether they will subject future orders from
the same customer for the same drug product to more rigorous scrutiny and/or consider whether to
cease filling all future orders of that drug product or all controlled substances. 107
                  L.     DEA CHEMICAL HANDLERS MANUAL
        Cardinal Health (and others) have responded to discovery referencing the DEA’s Chemical
Handlers Manual and/or the 1998 Reno Report as “guidance” provided by the DEA regarding its
suspicious order monitoring system for Schedule II and III controlled substances, including
prescription opiates. 108 It is worth noting that these guidelines relate to “Listed Chemicals”, rather
than Schedule II and III controlled substances, primarily focused on the sale of chemicals used to
make illicit methamphetamine. “Suspicious orders” of Listed Chemicals are defined by 21 USC
§ 830(b)(1)(A) as orders of “extraordinary” size [based on a formula which generally multiples a
monthly base weight average per base code by a multiplier (3x)]. Notably, the Chemical Handlers
Manual also mandates:
            When a regulated person suspects that an order may be intended for illicit
            purposes, good practice requires that every reasonable effort be made to
            resolve those suspicions. In addition to making required reports, the
            transactions should not be completed until the customer is able to eliminate
            suspicions. 109
Relying upon a threshold of “extraordinary” size fails to detect orders of “unusual size” and is not
compliant with 21 CFR 1301.74(b). Nor is shipping suspicious orders after reporting. Further,
reliance on this threshold also does not detect orders of unusual pattern or frequency.
                  M.     MAINTENANCE OF EFFECTIVE CONTROLS                                AGAINST
                         DIVERSION OF CONTROLLED SUBSTANCES
      Registrants engaged in actively distributing controlled substances should implement
measures to comply with the legal and regulatory requirements. These measures should be
documented as a standard operating policy for the company and be distributed to all relevant

106
      Id. at CAH_MDL_PRIORPROD_DEA12_00000826, 00000837.
107
      Id.
108
      See, e.g., CAH_MDL_PRIORPROD_HOUSE_0002207; CAH_MDL_PRIORPROD_DEA07_01198690.
109
      CAH_MDL_PRIORPROD_DEA07_01198690, 01198713.
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employees. These standardized policies should be designed by distributors and manufacturers to
take the utmost precautions to prevent diversion by maintaining the “closed system” of
distribution. Included below are some key components that one would expect to see an operational
system designed to maintain effective controls against diversion.
   ● Registrants must have a comprehensive system in place and conduct an investigation on a
     customer who will be purchasing controlled substances. The following are some of the
     activities utilized to establish a new customer:
         ○ The review to establish a new customer and begin distribution of controlled
             substances is a critical 1st step to ensures a potential customer has a business plan
             consistent with compliance to the Controlled Substances Act. The review should
             confirm the information provided by the potential customer is accurate. One
             commonly used procedure by distributors is to utilize a customer questionnaire
             which asks a series of questions similar to the following:
                 ■ Past history of DEA registration to determine compliance history
                 ■ Check of state and local licensure compliance.
                 ■ Compliance history with state medical/pharmacy board
                 ■ Review the business plan to determine legitimacy of the customer
                 ■ Identify any affiliation with pain management doctors
                 ■ Review percentage of controlled substance business
                 ■ Identify any other distributors providing control substances
                 ■ Review the percentage of cash payments and insurance payments
                 ■ Review of pharmacy utilization reports
                 ■ On-site inspection of customer
                 ■ Internet search to determine any negative information

   ● 21 C.F.R. §1301.74(b) requires all manufacturers and distributors to design and operate a
     system to disclose to the registrant suspicious orders of controlled substances. This
     regulation states that suspicious orders include orders of an unusual size, orders deviating
     substantially for a normal pattern, and orders or an unusual frequency. The regulation
     further states a registrant shall inform the local DEA Division Office of suspicious orders
     when discovered by the registrant. The regulation indicates it is the responsibility of the
     registrant to design and operate a suspicious order monitoring system. The design of a
     suspicious order system must clearly identify when the order is identified by the system.
     A system that establishes thresholds which are legitimate needs of a customer identified
     through a comprehensive “know your customer” should consider any orders exceeding that
     threshold as a suspicious order. The identified order should not be shipped and reported to
     the DEA. The subsequent shipping of that order would be after a due diligence
     investigation has determined the order is being shipped for legitimate use. A suspicious
     order system to be effective contains many components which should include, but not
     limited to, the following:
         ○ Customer Types – Customers should be placed in into customer types based on the
             business activity identified through the due diligence documentation.


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        ○ Scope of Practice – The system should monitor and/or restrict customers to only
          allow the ordering of controlled substances by schedule and type which have been
          identified as required for the legitimate medical needs of the practice.
        ○ Customer Tiers/Groups – Customers who have been placed into customer types
          should be segregated by size in a minimum of three groups, based on the volume
          of their ordering history identified through the due diligence documentation.
        ○ Drug Types – A suspicious order system to be effective should design drug types
          with more specificity that by drug group or drug code. Monitoring controlled
          substances only by the drug code or drug family is too broad and reduces the
          effectiveness of the system. Thresholds should also be designed for those
          controlled substances identified with a higher probability of being targeted for
          diversion.
        ○ Thresholds – A distributor must identify the amount of controlled substances
          required by a customer for the legitimate operation of their business based on the
          registrant’s knowledge of the customers business model, due diligence
          investigation, comparison of purchase amounts by other similar customers.
          Thresholds should be calculated based on the history of usage of customer for a
          period of at least 12 months.
        ○ Population – The geographic distribution of controlled substances should be
          analyzed with relevant population information of available end users. The
          cumulative amount of controlled substances being distributed by a registrant to a
          geographic area or region should be monitored to insure it is consistent with
          legitimate population consumption. Customers who identify an activity of filling
          prescriptions from patients traveling from outside the area require a thorough due
          diligence type investigation including the review of dispensing records (without
          patient information) to confirm the legitimacy of the activity.
        ○ Pattern of Orders – Reviewing orders to determine if there are patterns of ordering
          of controlled and non-controlled drugs with a comparison with relevant industry
          information on the most frequently prescribed drugs. If the ordering pattern
          deviates from established levels or what would be normal for another similarly
          situated customer this could indicate potential diversion.
        ○ Pattern of Orders - Are controlled substances ordered in combinations of frequently
          abused drugs. As an example, purchasing the combination of oxycodone or
          hydrocodone products with Soma, Valium, and/or Xanax. The pattern of ordering
          of known highly abused controlled substances in comparison of other drugs can
          indicate diversion.
        ○ Frequency of Orders – The frequency of orders for controlled substances increasing
          disproportionately for specific controlled substances that have been identified as
          being highly diverted.
        ○ Geographic Distribution – The density of like businesses in geographic areas should
          be reviewed. Further, there should be a comparison of like customers in similarly
          situated geographic areas for deviation of volume and/or pattern of controlled
          substance orders. The system should identify large volume of controlled substances


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             consistently being received from a customer(s) in a state, county and city/township
             that does not have the appropriate customer base density.

  ● A robust and well-documented due diligence program is key for every compliance system
    to identify suspicious orders of controlled substances. As orders of controlled substances
    are identified due to factors such as size, pattern, or frequency, those orders may only be
    shipped if any suspicion is dispelled after adequate due diligence is conducted and it is
    determined that such orders are not likely to be diverted for illicit purposes. The elements
    and procedures involved in a due diligence compliance program for suspicious orders
    should be contained in a standard operation policy and should be readily available to all
    employees whose responsibilities touch on suspicious order monitoring. Characteristics of
    a robust due diligence should include the following:

         ○ An established procedure and criteria for setting threshold quantities.
         ○ The person or department who is responsible for approving threshold quantities is
           specifically identified.
         ○ A procedure for adjusting threshold quantities that requires thorough review and
           documentation.
         ○ Justification for the increase or decrease of thresholds documented by the registrant,
           and made after a review of factors such as the following:
               ■ Analysis of historical orders from the customer as well as any previous
                   adjustments in thresholds and the justification previously provided
               ■ Analysis of the patient population serviced by the customer
               ■ Analysis of the physician population serviced by the customer
               ■ Analysis of the results of an adequate on-site customer review program
               ■ Analysis of other factors that could indicate to the registrant whether or not
                   controlled substances are likely to be diverted for illicit purposes
         ○ Compliance review programs that have independent authority from other corporate
           entities/divisions to review thresholds as well as to approve or disapprove
           customers or threshold adjustments.
         ○ Sales role (if any) in the compliance review program must be appropriately
           managed.
         ○ On-site review includes the acquisition and review of utilization report.
         ○ Request for threshold changes necessitates an on-site review.
         ○ The person(s) is specifically identified who is responsible for reporting suspicious
           orders to the DEA.
         ○ Orders reported as suspicious that are subsequently shipped by the registrant have
           sufficient due diligence review being conducted and documented prior to
           distribution.


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              ○ The documentation of due diligence performed and the results thereof being
                retained
              ○ Suspicious orders also being reported to states where applicable.
              ○ Suspicious orders being reported as drug families and by individual drugs.
              ○ Sufficient training and education for all involved in the distribution of controlled
                substances.
        Almost as essential as the due diligence being conducted is that efforts made to dispel
suspicions and the results thereof are adequately documented and retained. Thorough
recordkeeping and documentation of the steps taken to justify flagged orders are necessary not
only to explain why decisions were made in any particular instance, but also to inform future
decisions regarding flagged orders. One important aspect of every due diligence review should
always be an examination of the historical transactions of the customer who placed the flagged
order. Such an examination is necessary to evaluate trends over time and to inform decisions about
whether or not orders of controlled substances are likely to be diverted into illicit channels. For
purposes of conducting a historical review of a customer when evaluating a flagged order, if prior
due diligence investigations are not adequately documented and retained, they may as well have
not occurred at all.

         As explained above, the goal of suspicious order monitoring is to ensure that bulk orders
of controlled substances are being shipped for legitimate purposes rather than being diverted for
illicit purposes. A suspicious order monitoring system has a self-policing aspect with the twin
aims of both stopping the shipment of orders at risk of diversion and investigating those who have
placed orders that are identified as suspicious. Not shipping a suspicious order is only part of the
equation. The other parts are investigating the buyer and the circumstances surrounding the order
and, if necessary, reporting the suspicious order to the DEA. Any order that is suspicious requires
action to dispel suspicion and confirm legitimacy. Otherwise the order should not ship. When a
distributor neglects to dispel suspicion and ships anyway, the risk of diversion does not disappear
when the order ships. For this reason, any future order or shipment to that particular pharmacy or
buyer should not ship until an investigation of the initial suspicious order occurs because there is
an outstanding concern about the past shipment that has not been addressed. Otherwise, a
distributor is potentially sending larger and larger quantities of controlled substances to a buyer
that is under suspicion of being a diversion risk. The suspicious order monitoring system failures
described above directly led to massive quantities of pills being shipped to buyers who had placed
suspicious orders of controlled substances. These orders never should have shipped until after the
suspicion of diversion was dispelled.


       III.      Identifying Suspicious Orders Distributed in CT1
        I have described in this report the ways in which distributor and manufacturer defendants’
inadequate response to their statutory and regulatory requirements to maintain effective controls
related to the sales of prescription opioids would potentially cause the diversion of these pills for
non-medical use. I have reviewed five suspicious order methodologies, some of which were

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                    to determine whether there was a theft of product. 443 444 Period #2 Early to Mid-
                    2009 until March 2014

                    1. Item Review Reports 445

        In 2007 CVS hired Buzzeo to help create DEA control drug standard operating procedures.
This engagement lead to the manuals identified above as the “CVS Distribution Center Controlled
Drug - DEA Standard Operating Procedures (SOPs) Manual.” As part of the engagement, in late
2008-early 2009, Buzzeo delivered to CVS an “SOM model … designed to ‘pend’ an order which
may be classified as a ‘suspicious’ order for DEA reporting purposes.” 446 The SOM model
consisted of complex multiple logistic regression algorithms and was designed to pend any order
with a score of .15 or higher. The IRR was a print-out that consisted of all controlled drug orders
for that day that were identified as potentially suspicious by the SOM algorithm. This was a daily
report that was run five days per week. As is described in the Due Diligence Conducted section
below, CVS only performed due diligence on a small percentage of the orders identified in the
IRR as potentially suspicious.

         The IRRs had some specific problems that fit within the time periods below but it also had
one overarching issue that continued from mid-2009 until March, 2014 – when performing the
calculation of whether the order was suspicious, the IRRs did not consider orders delivered to CVS
pharmacies by outside vendors. 447 CVS had full access to every order its pharmacies placed to
outside vendors but did not incorporate this information in its SOM system. Maintenance of
effective controls requires CVS to utilize all relevant transaction information. Not surprisingly, the
VIPER reports which are used as inventory tools and to gauge whether there is a loss of product
from theft automatically incorporates outside vendor information. 448
The outside vendor issue was not rectified until the new AGI SOM program was implemented in
2014. As late as January of 2013, CVS was analyzing the potential risks of not tracking orders
that its pharmacies placed to outside vendors and concluded that it needed to due to the “DEA
‘Know Your Customer’ requirements.” 449 CVS recognized that in order for the “dispensing data
in the algorithm to be useful, we must account for all controlled substances ordered.” 450 In fact, a

443
      Burtner Depo., 384:12–21.
444
      Dugger Depo., 104:12–22.
445
   During this period the IRR was the primary SOM process used by CVS. However, CVS also continued to use
the Pickers and Packers and PDMR Viper reports in conjunction with the IRR.
446
  See Cegedim Dendrite Compliance Solutions Powered by BuzzeoPDMA “Descriptive Over Document: Cegedim
Dendrice Suspicious Order Monitoring (SOM) Model” Version 1.0 – December 2008. CVSMDLT1-000123386–
000123392).
447
      Burtner Depo., 284:21 – 285-20.
448
      Burtner Depo., 382:20 -387:17.
449
      CVS-MDLT1-000103328, at 28.
450
      CVS-MDLT1-000103328.
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Participant notes from this meeting indicate that Mr. Mapes advised the audience not to “confuse
suspicious order report with an excessive purchase report. They are two different things.” 560
       3. Bancroft Algorithm (2008 to 2012):

           Phase I (August 2009 – September 2010)

        As early as 2005 and 2006, Walgreens acknowledged that its SOM policies were
inadequate and did not meet industry and legal standards, however, Walgreens did not institute a
SOM program at that time. 561 In March 2008, in response to three of Cardinal Health’s DCs being
shut down by the DEA for suspicious drug ordering violations, Walgreens formed a five
department “team” to finally “begin creating” a SOM program, 562 and, in June 2008, developed a
new SOMS algorithm to begin to address the inadequacies of Walgreens’s SOM policies. 563
Despite years of knowledge that its SOM was insufficient, and despite developing a sophisticated
algorithm in 2008, Walgreens did not practically implement its SOM program until 2009, when it
began to pilot the algorithm with respect to orders from seven (7) Walgreens stores. 564 The
algorithm Walgreens developed in 2008 and began to test in August 2009 flagged the regular
periodic orders for controlled substances orders that these seven Walgreens stores placed to
Walgreens Distribution Centers for “tolerance” (size of the order) and “frequency” (how often the
period orders were placed).

        During the substantial majority of Phase I, the SOMS program was only implemented as a
“pilot” or “proof of concept”. 565 While the Phase I SOMS flagged some orders from these seven
stores as suspicious, during Phase I Walgreens did not halt orders that violated the algorithm or
take any other comprehensive steps to prevent the flagged orders from being shipped or filled.

           The SOMS order flagging pilot was not implemented chainwide until September 2010. 566




560
      Acquired_Actavis_00441354 at 441355.
561
   WAGMDL00757193 (“internal controls that ensure compliance with DEA regulations … pertain[ing] to all
company DCs … should be addressed to void potential DEA sanctions”, noting that these issues had been pending
and “un-remediated” since audits in 2005 and 2006, and included “suspicious controlled drug order processing and
reporting” and “lack of formalized CII controlled substance policies and procedures.”); See also
WAGMDL00709508 (““suspicious ordering report is inadequate”); WAGMDL00709510 (“formulation utilized by
the firm for reporting suspicious ordering of controlled substances was insufficient”).
562
      WAGMDL00659801 at 818; WAGMDL00709395.
563
      WAGMDL00624527.
564
      WAGMDL00667936, at 938 and 940; see also WAGMDL00658227.
565
      See E. Bratton Deposition at 207:1 to 210:7; WAGMDL00325170
566
      See E. Bratton Deposition at 208:10 to 209:24.
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                                                                                     Exhibit 40, Page 10
